 

U.S. DISTRICT COURT

Case 4:19-cv-00414-A Docum é 1 off SARTRERS ID 2STCT OF TEXAS

 

 

IN THE UNITED STATES DISTRICT COURT = |
FOR THE NORTHERN DISTRICT OF TEXAS. | JUL 25 2013
FORT WORTH DIVISION oe S1%

 

 

 

 

CLERK, U.S. DISTRICT COURT
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American Airlines, Inc.,

 

Plaintiff, CT
v.

Transport Workers Union of Civil Action No. 4:19-CV-00414-A
America, AFL-CIO, International
Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/IAM,

Defendants.

a

 

DEFENDANTS’ UPDATE TO THE COMPLIANCE DECLARATIONS AND EXHIBITS
FILED ON JULY 22, 2019 AS ECF NO, 121

Pursuant to this Court’s July 10, 2019 Order (ECF No. 111} Defendants Transport
Workers Union of America, AFL-CIO (“TWU”), International Association of Machinists and
Aerospace Workers (“IAM”), and Airline Mechanic and Related Employee Association
TWU/IAM (“Association”) (collectively, “Defendants”) respectfully file the following sworn
declarations of Timothy Klima and Gary Peterson updating the Court on the further steps taken
toward compliance with the July 10 Order subsequent to the July 22, 2019 declarations filed as

ECF document number 121.

Tab DESCRIPTION

A. DECLARATION OF SITO PANTOJA

Exh. 1 Sign-in sheet from in-person meeting with union leaders for
Seattle

B. DECLARATION OF GARY PETERSON

Exh. 1 List of aircraft mechanics in attendance at the in-person
meetings conducted from July 22-24, 2019
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Dated: July RS, 2019

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Union of America, ALF-CIO and Airline

Mechanic and Related Employee Association

TWUAAM
Case 4:19-cv-00414-A. Document 124 Filed 07/25/19 Page 3o0f34 PagelD 2974

CERTIFICATE OF SERVICE
Aw
I certify that on this &S_ day of July, 2019 a true and correct copy of the foregoing
document was served on counsel for all parties of record listed below by a means permitted by

Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

SANFORD R. DENISON
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TAB A.

DECLARATION OF
TIMOTHY KLIMA
Case 4:19-cv-00414-A Document 124 Filed 07/25/19 Page5 of 34 PagelD 2976

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

American Airlines, Inc.,
Plaintiff,

Vv. Civil Action No. 4:19-CV-00414-A
Transport Workers Union of
America, AFL-CIO, International

— Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/IAM,

Defendants.

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DECLARATION OF TIMOTHY KLIMA
Timothy Klima hereby declares, pursuant to 28 U.S.C. § 1746, as follows:

1. I submit this Declaration pursuant to the Court’s Order of July 10, 2019 ECF No.
111) to update the Court on steps taken by IAM and the Association toward compliance with the
requirements of that Order since July 19, 2019, the date my last declaration was executed. (ECF
No. 121, Tab A). I make this Declaration based on my personal knowledge and the records of
IAM and the Association.

In-Person Group Meetings — Union Officials (July 10 Order paragraph (b)).

2. As required by Paragraph (b) of the July 10 Order, IAM has continued to hold in-
person group meetings with IAM union officials, including: (1) Local Leadership, (2) Local e-
board members, (3) shop stewards, and (4) grievance committee members at all stations where

those meetings had not been completed by July 19, 2019. The last and final in-person meeting
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with local union leaders was held on July 22, 2019 for Seattle. The sign-in sheet for that meeting
is attached hereto as Exhibit 1.
Phone Calls (July 10 Order Paragraph (c)).

3. Paragraph (c) of the July 10 Order requires senior IAM leaders to make phone calls to
1AM members who did not attend the in-person meetings described above. IAM and the
Association have obtained from American lists of mechanics scheduled to work the overnight
shift and compared them with the sign-in sheets from the in-person meetings. IAM sent
American the list of individuals who did not attend the meetings and has requested phone
numbers from American for those individuals; once the phone numbers are available, IAM and
the Association will make the required calls.

A, Paragraph (c) of the July 10 Order requires senior [AM leaders to make phone calls to
IAM officials who were unable to attend the in-person meetings described above. IAM does
have phone numbers for these individuals and all of those calls have been made, except for a
limited number of union stewards who may not have attended the meetings described above.
These individuals will be called as part of the calls described in paragraph 3 above.

Acknowledgement Forms (July 10 Order Paragraph (f).

5. Paragraph (f) of the July 10 Order requires that “Each of Defendants’ members shall
sign and date an acknowledgement form stating that they have read and understand their
obligation to comply with the modified Temporary Restraining Order upon risk of being
disciplined or fined by Defendants and American.”

6. LAM and the Association intend, among other steps, to have union representatives

meet with employees at their respective stations and provide them with acknowledgment forms
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for signature. [AM and the Association plan to begin those meetings on July 25 and 26, 2019 in

Charlotte and Pittsburgh, and then conduct similar meetings at other stations.

[Remainder of Page Intentionally Left Blank]

[Signature Page Follows]
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I declare under penalty of perjury that the foregoing is true and correct. Executed on this

ys
34" day of July 2019.

(is, dhe

Timothy Klitha 7
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DECLARATION OF
TIMOTHY KLIMA

Exhibit 1
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SEA SIGN-IN
Case 4:19-cv-00414-A’ Document 124 Filed 07/25/19 Page11o0f34 PagelD 2982

 

 

 

 
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TAB B.

DECLARATION OF
GARY PETERSON
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

American Airlines, Inc.,
Plaintiff,

v. Civil Action No. 4:19-CV-00414-A
Transport Workers Union of
America, AFL-CIO, International
Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/TAM,

Defendants.

a a a

 

DECLARATION OF GARY PETERSON

Gary Peterson declares pursuant to 28 USC § 1746 as follows:

L. My name is Gary Peterson and J am an adult resident of the State of Texas. I
make this Declaration based on my personal knowledge and on records kept in the normal course
of business by the Transport Workers Union of America, AFL-CIO (“TWU”), the Airline
Mechanic and Related Employee Association TWU/IAM (the “Association”), and Locals
affiliated with the TWU. I currently serve as an International Vice President of the Transport
Workers Union of America, AFL-CIO, and ] am a member of the Association’s executive
negotiating committee.

2. I submit this Declaration pursuant to the Court’s Order of July 10, 2019, ECF No.
111. This Declaration describes the steps taken subsequent to execution of my previously filed

Declaration, and those which remain to be accomplished.
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3. Defendants have taken the following steps toward compliance with the
provisions of the Modifications to June 14, 2019 Temporary Restraining Order, issued on July
10, 2019:

In-Person Group Meetings (July 10 Order Paragraph (a)).

Meetings with senior TWU leaders pursuant to paragraph a of the Modified TRO have
taken place with aircraft mechanics on the RON shift at the following Line Maintenance Stations
on the dates indicated: RDU (July 22, 2019, TWU International Vice President Gary Peterson
present), LGA (July 23, 2019 Peterson present), EWR (July 23, 2019, Peterson present), LOC
(July 24, 2019, Danker present), AUS (July 24, 2019, Peterson present), SAT (July 25, 2019,
Peterson present).

Meetings by senior TWU leaders pursuant to paragraph a of the Modified TRO are also
scheduled to take place at the remaining Line Maintenance Stations for the RON shifts as
follows:

i. TAH — July 25, 2019 at 10:30 p.m.
ii. STL —July 28, 2019 at 10:00 p.m.
iii. ORD ~ July 29, 2019 at 10:00 p.m.
iv. SJU — July 30, 2019 at 10:00 p.m.

Lists of those aircraft mechanics who were in attendance at the meetings conducted from
July 22 to July 24, 2019 are attached as composite Exhibit 1. A summary of what TWU leaders
said at the meetings was previously filed with the court.

The July 10 Order allowed American Airlines’ management to attend each of these in-
person meetings, and to my understanding, management did attend these in-person meetings,

which were all held at American Airlines’ facilities.
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In-person Group Meetings — Union Officials (July 10 Order paragraph (b)).

Since the filing of my last Declaration, group meetings with senior Union leaders
pursuant to paragraph b of the Modified TRO have taken place or are scheduled to take place at
the following locations and approximate times:

i. LGA — July 23, 2019 at 7:00 am.
ii, ORD ~ July 29, 2019 at 1:00 p.m.
iii. MIA — Aug 1, 2019 at 3:00 p.m.

The TWU Union officials who were in attendance at the meeting held at LGA on July
23, 2019: Peterson, Mark Nhat (TWU), Tony Sarigo (IAM) and Wes Bryan (IAM).

A’summary of what the TWU leaders said at the meetings was previously filed with the
court.

The July 10 Order allowed American Airlines’ management to attend each of these in-
person meetings, and to my understanding, management did attend these in-person meetings,
which were all held at American Airlines’ facilities.

Phone Calls (July 10 Order Paragraph (c)).

TWU has begun the process of identifying those employees on the RON shifts who were
unable to attend the meetings held pursuant to paragraph a of the Modified TRO, and made an
initial request to American Airlines for employee phone numbers. American Airlines provided a
master list of employees, with phone numbers, on July 25, 2019, and TWU will begin the
process of calling aircraft mechanics as required by paragraph c of the Modified TRO. TWU
Leadership has already started the process of calling Local TWU representatives who were

unable to attend the union-leader meetings, and continues to do so on an on-going basis.
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Acknowledgement Forms (July 10 Order Paragraph (f)).

Paragraph (f) of the July 10 Order requires that “Each of Defendants’ members shall sign
and date an acknowledgement form stating that they have read and understand their obligation to
comply with the modified Temporary Restraining Order upon risk of being disciplined or fined
by Defendants and American.” TWU intends to have union representatives meet with employees
throughout the American system to provide them with acknowledgement forms for signature.

Overnight Productivity Levels (July 10 Order Paragraph (h)).

Paragraph (h) of the Modified TRO requires Defendants to “take all reasonable actions,
including but not limited to communications to their members, to ensure that their members
working at American’s line maintenance stations, within seven days of entry of the modified
Temporary Restraining Order, achieve approximately, in the aggregate, on a 7-day moving
average basis, overnight productivity levels equal to the aggregate status quo overnight
productivity levels achieved in the summer of 2018 of 77.5%.” TWU is complying with this
section through the communications and in-person meetings as described and outlined in the

above paragraphs.
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I DECLARE under penalty of perjury under the laws of the United States that the
foregoing statements are true and correct.

Executed this 29 day of July, 2019 at Tarrant County, Texas.

 

 

~ Gary Peterson> wee
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DECLARATION OF
GARY PETERSON

Exhibit 1
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Exhibit 1
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RDU — MEETING
JULY 22, 2019

Attendees:

Castoe, Shawn
Robichaux, Steven
Giacofei, Paul
Scalione, William
Fitzpatrick, Steven
Bolin, James
Rountree, john
Herzog, Robert
Wool, Richard
Kowalezyk, Richard
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Case 4:19-cv-00414-A Document 124 Filed 07/25/19 Page 22 of 34 PagelD 2993

LGA — MEETING
JULY 23,2019

*NOTE: Unreadable names on attached list:

Pero, Jr., Alfred
Bracco, Timothy
Cevallos, Ruben
Dawson, Patrick
Del Valle Cruz, Jamie
Delvin, Sean
Dominguez, Juan
Duda, Andrew
Francis, Sydney
Andrade Neto, Gil
Andrade Aviles, Denise
Crespin, Ricardo
Diaz, Naiven

Mock, Sik

Philip, Siju

Salazar, Johnny
Valles, Ralph
Martinez, Gabriel
Valerio, Henry
Anderson, Courtney
Halim, Shah
Barlow, Stephen

Hoczela, Joseph
Case 4:19-cv-00414-A Document 124 Filed 07/25/19 Page 23 0f 34 PagelD 2994

 

 

 

 

 

 

 

 

 

 

MIDS DAILY MANNING COUNTS

DATE: Jul 23.2019 WORKGROUP: -ALL- SHIFT: MID LOCATION: LGA ME

 

                                              

 

 

AVAILABLE MANPOWER
AMT: 3?
cc: 3}
Tec: 2
INSP; §
LGA TERM-NIGHTS CC. AMT-
EMPLOYEE EMP# WORKGROUP OCC SEN POS SHIFT EXCEPTIONS QUAL
Tot weit a Lh. Hoosh Fp a ATS ga ME AK Fina 268 SAG HLT UTAH He te HOS waa
RLUGHINT, FREDERICK LGA-GENERAL UP/24/1989 AMT eat) VEZ 3b — BAE-MAML AT T?-NG, BPA VIASAT,
+ «RACTO TIMOTHY GA-GENERAL 10/04/1997 AMT = 21-30-0500 8737-NG, B757, VIASAT
+ "E ALLOS RUBEN LGA-GENERAL 04/12/1986 AMT — 21:30-06:00 B737-MAMB. BY37-NG. BTS7 VIASAT
% AWSON, PATRICK GA-GENERAL 09/24/2045 AMY  —-24-30-66:08 AS20F, B737-MAX®, B737-NG, LMX ELEC VIASAT
* Sb VALLE CRUZ. JAIME LGA-GENERAL 121082014 AMT — 21:30.06;00 A320F, B737-MAX8, B737-NG. VIASAT.
+ L.GA-GENERAL 10241998 AMT = -24:30-06:00 A320F, 8737-NG, B757, A1, VIASAT,
+ ny LGA-GENERAL 92/02/1996 AMT  — 24:30-08:00 B737-NG, 8757, VIASAT,
+ SJAINGUEZ. JUAN LGA-GENERAL 1040/2010 AMT = 21:30-06:00 A320F, B737-MAXS, B737-NG, B57.
* Boh LGA-GENERAL O77/2002 AMT  — 21:30-06:00 5737-MAXB, BY27-NG, 8757. VIASAT,
*°RANCIS, SYONEY LGA-GENERAL 05/15/7996 AMY  — 22:00-06:00 CSWV 21:30-08:00-Trade wilh Emp I: 3702590 PACIFIC  8737-MAX8. B737-NG, B757. VIASAT.
GUSMAN, JUAN L.GA-GENERAL 06/15/1996 AMT  — 21:30-06:00 A20F , B737-MAXB, B737-NG, A757.
HAASE, DWAYNE GA-GENERAL OG/05/2017 anit 21:30-06:00 B737-MARS, BTST-NG, VIASAT,
HESLIN, THOMAS GA-GENERAL 02/01/1991 AMT  —-21:3D-06:00 8737-NG, 8757, B767, At,
POSER AAN EGA-GENERAL OF/4672996 AMT 2030-08 SK218 0 BAB MAME BFS 7-N Gp BPSD TT ter MY ASAS
SHAN. HAMAYUN GA-GENERAL 12/08/2003 AMI — 21:30-08:00 AQ20F, B737-MAXS, B737-NG, 8757, B767 VIASAT
NIEVES, CARLOS BeGA-GENERAL 06/22/2015 AMT  21:30-06:00 AS20F, B737-NG; LIX ELEG., VIASAT,
@ICCIRILLO. ALFREDO BGA-GENEGRAL 03/30/1597 AMY  — 21:30-08-00 B737-NG, 8757, 8767, VASAT,
HHIE-FRANCISED BLGA-GENERAL 03/40/4902 AME = 2020-06,00 YE2ng-NGaIO— O93 9-NGARASAT-
SHNOZKY, FRED GA-GENERAL OB/f6/2002 AMT — 21:30-06:00 B737-NG, 8787, 8767, VIASAT,
SEOANE, XAVIER BGA-GENERAL Gariz/2002 AMT © 21:a0-06.00 AS20F. B737-MAXS, B737-NG, VIASAT,
SHAFL AKBER GA-GENERAL 05/17/2004 AMT —-21:30-06:00 AS20F, 8737-MAXS, B737-NG, 8757, 8767, VASAT,
STRIDEL, ROBERT MGA-GENERAL 04/27/1992 AMT  — 21:30-06:00 8737-NG, 8787, VIASAT,
SUERO, JOSE BEGA-GENERAL O5/282015 AMT 21:30-06:00 AS2OF, B797-MAXB, BT37-NG, LMX ELEC.. VIASAT,
TAM, ZHAN BEGA-GENERAL 14/262018 AMT  — 22:00-06:30 CSW 22:00-06:30-Trade with Emp ID: 630472 CASTILLO
THEROUX, RAYMOND IGA-GENERAL 02/0271999 AMT © 21:30-08:00 B737-NG, 8757. B757,
WONG, SING fe GA-GENERAL O2/24/1898 AMT 21:00-05:30 cow 21:00-05:30- Trade with Emp H2.132623 LOWE Ad20F, B737-MAXS, B737-NG, O757, BfoF, VIASAT,
ZEGAREA SILVA, JUAN a. GA-GENEIRAL 42132044 AMT 24-30-00 ~

AS20F, 8737-MAXG, B737-NG, VIASAT.
Case 4:19-cv-00414-A Document 124 Filed 07/25/19 Page 24 0f34 PagelD 2995

 

 

 

 

 

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TUUWOO DEXTA LGA-GENERAL 070912018 AMT 20.30-07 08 CSV 20-30-07.00- Frade wilh Emp ID. 606599 NAIR B737-NG.

* LGA-AVIONICS 1208/2014 AMT 20-30-0708 LAST DAY A320F, B7A7-NG, VIASAT,
nk LNNY LOA-AVIOMICS 11012002 AMT =——-:20°30-07:00 A320F, B737-NG, VIASAT.
AC fated, NTRVEN LCA-AVIGMICS ON/OS/T99N ABTT — ZacHLO Fae 8 2naN-AT- ALZUV, B2S7-BAXA, HESI-NG, VIASAT,
LGA TOO-MIDS TOO —_ ;
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FUWARDS, RICHARL LGA-OG 05/11/1987 INSP = 21:20-05:50 Ag20F, B737-NG,
UK THOMAS LGA-QG 110799838 «INSP -24:20-05:50 8737-NG,
NU KENDY LGA-QC 09/22/7986 INSP = 24:20-05:50 Aa20F, 87397-NG,
Aili STEPHEN LGA-OC 11/02/1987 INSP 21.20.0850 AS2OF, B737-NG,
WONG, HENRY LGA-OC 10/24/1908 INSP —-21:20-05:50 AgZOF, BY37-NG,
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Team ;
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pate 20190724 000000 Bas Al ase
ME Duty Roster Report
Team: LGA_9942-04385_491_LINE_3 jx.
Name
Emp# Last Name First Schadute Shit Type Absences Codes
G Abreu Ronny 22:00-06:39 Scheduled Shit
Agampors ‘Aldo 2260-089 -Scheduled Shift
Beltran -Ghisteghar ~PA06-06.36 Swap on shit
Ghimbo Anthony 2200-06:90- Swapron shift
Corrle Dave 22:00-00:90 Scheduled Shift
~Subilles Jonathan ~ 2200-0888 Scheduled Shit 5.4
Dubais Anthony 22:00-06:30 Scheduled Shift
Gomez Danie! 22:00-06:30 Scheduled Shift
Hadzimusovic Admir 22:0008:30 Scheduled Shill
Lach Arkadivez 2200-0690 -Swapoltehit 226 OK LD te edits os
pa inl ae
Mayo Michael 22-00-0839 Schaduled Shift
Mena Vittorio 22-00-08:90 Scheduled Shill
“Rhortigs-— Treg 0 or en ESO “Sway Or ShHt
Reda Joseph 22-00-06:30 Sehsduted Shift
Romera Caeser on-00-06:90 Scheduled Shitt
Gancher~- Filey P0090. —Schedeled Shit sy vy anny (42 (5
Tazmourt Mohamed 29:00-06:30 Scheduled Shilt
Tello Johnny 22:00-06:30 Swap oll shift" ee Teh Fe Sse te a
EER, : tye
Vizoaino-Fermin Casar 92:00-08:30 Swap off shift: te OBE (SAIAOFE. Gate 48) O93080 .
Citieetiu, Ambhony
Zapata Felix ppG0-0630 Scheduled Shift
LGA_9942-0435_491_LINE LS
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Henry Copiy gi45-0E duled Shift
gantos Jorge ai4s0e15 = Scheduled Shit

 

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Lt0Z/9/t — {LZT02/9/T yA LAV dd ZEL6 NOTISLSY9 3} ¥2
9107z/6z/8 {9107/67/38 YAS LAY dd ZEL6 JAIND Y VIET
910z/st/s i9T0z/St/s YAAA LAY iu ZEL6 OOHAO HITZ
910¢/8/8 = |910z/8/8 WAKA LAY id ZEL6 NOIDYNYVONG Foz
T10z/oe/s | Ttez/oe/s yMa LAY di ZELG VINVO MELT
TEGT/ZT/OL [9661 /0Z/r uMg LAY id ZEL6 NONLNITIS 4 SIST
TEGT/ST/Z = T66T/ST/2 WM LAY id CELE ey TVIHISYZ INIT
e66T/ZT/T | T66T/ET/T YAN LAY da ZELE Old d LET
6B6l/vZ/i 686T/re/ 2 YA LIY di ZELE ZLITUS IZT
S261 /Pe/Ot i886T/"Z/OT YM LAY ii ZEL6 isnv4a ¥ 38

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DAILY MANNING COUNTS %&
DATE: Jul 24, 2019 WORKGROUP: AUS-GENERAL SHIFT: -ALL- LOCATION: AUS

 

 

 

 

 

 

 

 

 

 

 

    

   

 

         

 

         
      

 

 

               

 

 

 

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AMT: 28
Ce: x
TCC; 0
INSP: 8
CLNR: o
AUS AFTS CC-4 AMT-3 TCC-O INSP-0 CLNR- LOC: i
EMP 4 WORKGROUP OCC SEN POS SHIFT EXCEPTIONS ~S
CLARK, GARY AUS-GENERAL OS5/097198B CC AMT  13.30-22:00. “—
KLEPAL, D Gi uss “43:30-22-00 Al.
SHIGO. DAVID - AUSGENERAL 07/31/1989 AMT FA90. At,
STEPHENS 2 c AUS-GENERAL 10/22/1984 AMT 49:30-22-00
AUS DAYS CC-1 AMT-2 TCC-0 INSP-O CLNR-6 Loc:
EMPLOYEE EMP # WORKGROUP OCC_SEN POS SHIFT EXCEPTIONS - QUAL NOTES
HOCH JR, EDWARD AUS-GENERAL 04/21/1986 CC AMT O8:00-14:90. ee e190.
PNIEWSKI, PATRICK AUS-GENERAL 02/12/1999 80-14-30
HAHN, TYLER W2N9OBE ANT 06:00-14:30 VC 06:00-14-30-
—
ZIMMERMAN (537) AUS-GENERAL 06/17/1995 AMT 05-00-T4:20—._.CSW 00:00-14:30-Trade wih Emp ID: 091278 LITSTER LMX ELEC.
DAV tee
ta ee
AUS MIDS €C-4 AMT-22 TCC-O INSP.0 CLNR-O LOC:
EMPLOYEE EMP # WORKGROUP OCCG_SEN POS SHIFT EXCEPTIONS QUAL NOTES
DAVIS, RODNEY AUS. O7/21/1997 CC  — 20:60-06:30
GENERAL AMT
COTNER, SHANE AUS- 09/10/2000 AMT 26:00-06:30 CSI\¥ 20:00-06:°30-Trade with Emp iD:
GENERAL 683373 HARRIGAN
ALICEA, aULIO AUS- 12/23/1995 AMT  20:30-07:00
GENERAL
HUNTER, SCOTT AUS- 04/064997 AMT  20:30-07:00 E199,
GENERAL
CRUZEN, TRAVIS AUS- OB/031998 AMT  20:30-07-00
Jul 24, 2019 PAGE 1 of 3 7:30:44 Py

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EMPLOYEE

KAHLSTROM, MARK
TRAVER(HBNEK365), SCOTT
BEARDEN, ROBIN
FINK, RICHARD
KLINGT THOMAS
TILLERY, MARK
BARNES. DAREN
SWANSON, JON
ZONGU, GAOQUSSOU
RODRIGUEZ, LUIS
TITTLE, LONNIE
PORRAS, MANUEL
ROBINSON, JASON

PEDROSO, GUSTAVO

Jul 24, 2019

EMP # WORKGROUP

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DAILY MANNING COUNTS &.
DATE: Jul 24, 2019 WORKGROUP: AUS-GENERAL SHIFT: -ALL- LOCATION: AUS

 

 

 

 

 

 

 

 

 

 

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AMT: 25
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INSP: a
CLR: o
OCC_SEN POS — SHIFT EXCEPTIONS QUAL NOTES
O7M4H997 AMT 20:30-07:00
04/23/1990 AMT  20:30-07-00 £450.
OS27997 AMT  20:30-07:00
021991 AMT 20:30-07:00 £190,
OS9/03/1996 AMT 20:30-67:00 ‘VC 20:30-07:00-
69031986 AMT  20:30-07:00 AS20F, B777, B7B7, LMX ELEC.,
WOMN7/2003 AMT  20;30-07:06 CSW 28:30-07:00-Trade with Emp ID: AS20F, B737-MAXS, B737-NG,
482942 HARDING
O7/237990 AMT  20:30-07:00 £190, At,
OUI12016 AMT  20:30-07:00
09/10/2018 AMT  20:30-07:00 CSW 20:30-07:00-Trade with Emp ID: B737-MAXB,
806822 LOPEZ
042772019 AMT  20:30-07-00
G4/2912079 AMT § 20:30-07:00 CSW 20:30-07:00-Trade with Emp ID:
665590 VILLARAMA
G4/2912019 AMT  20;30-07:00
4203990 AMT 20:30-07:00 8737, 8757, 8767, 8777. RBO? IPC
PAGE 2 of 3 7:30:44 PM

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DAILY MANNING COUNTS &

DATE: Jul 24, 2019 WORKGROUP: AUS-GENERAL SHIFT: -ALL- LOCATION: AUS

 

 

 

 

 

 

 

 

 

 

 

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AMT: 25
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INSP: G
CENA: 6
EMPLOYEE EMP# WORKGROUP OCC_SEN FOS — SHIFT EXCEPTIONS QUAL NOTES
GENERAL ASSY, RBO2 IPS DIS.
KEENE, CARBET AUS- 10/259999 AMT  20:30.07-00 8737, B77, 8767, B777.
GENERAL
CATE, DON AUS- 11/059990 AMT  20:30-07-00
GENERAL
MCKEAN PATRICK AUS- 08/28/1999 AMT  20:30-07:00 VC 20:30-07-00- £190,
GENERAL
DENNIS, MARK AUS- 07/23993 AMT  20:30-07:00
GENERAL
REMMERS, ROBERT AUS- 04/28/1991 ANT 20:30-67-90 E190, SHOP STEVVARD,
GENERAL
LOWE, CEDRIC AUS- O/2o7t99h AMT 20:30-07-00 E189,
GENERAL
DAY OFF OT CC-0 ANT-1 TCC-& INSP-0 CLNR-O LOC:
EMPLOYEE EMP # WORKGROUP OCC_SEN POS SHIFT EXCEPTIONS QUAL NOTES
SHAVER, GREGORY i eS 07/25/2016 AMT  20:30-07:00  OT-BO 21:00-07:00- 8737,

dul 24, 20499

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